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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

CASE NO. 22-cr-00313-RM

UNITED STATES OF AMERICA,

              Plaintiff,

v.

JAREH SEBASTIAN DALKE,

              Defendant.


       NOTICE OF FILING OF CLASSIFIED RESPONSE TO GOVERNMENT’S
                   CLASSIFIED SENTENCING PLEADINGS


       Mr. Jareh Sebastian Dalke, through undersigned counsel, David Kraut and Timothy P.

O’Hara, Assistant Federal Public Defenders, filed a classified Response to the Government’s

classified sentencing pleadings directly with the Clerk of Court in the District of Colorado and

counsel for Mr. Dalke served a copy of said supplement on government counsel.

                                            Respectfully submitted,

                                            VIRGINIA L. GRADY
                                            Federal Public Defender

                                            s/ Timothy P. O’Hara
                                            TIMOTHY P. O’HARA
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                                             s/ David Kraut
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                                  CERTIFICATE OF SERVICE

       I certify that on April 18, 2024, I filed the aforementioned Classified Response with the
Clerk of Court in the District of Colorado directly, providing a copy of the document to:

       Julia K. Martinez, Assistant United States Attorney



                                             s/ Timothy P. O’Hara
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